  Case 5:22-cr-50011-TLB Document 22        Filed 05/12/22 Page 1 of 1 PageID #: 52




                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                    PLAINTIFF

V.                           CASE NO. 5:22-CR-50011-001

BRIAN CLEAVELAND                                                         DEFENDANT


                                        ORDER

       Currently before the Court is the Report and Recommendation (Doc. 21) filed in

this case on May 11, 2022, by the Honorable Christy Comstock, United States Magistrate

Judge for the Western District of Arkansas. Both parties have waived the right to object

to the Report and Recommendation for the purpose of expediting acceptance of the guilty

plea in this matter. Id. at ¶ 5.

       The Court has reviewed this case and, being well and sufficiently advised, finds

that the Report and Recommendation is proper and should be and hereby is ADOPTED

IN ITS ENTIRETY. Accordingly, Defendant’s guilty plea is accepted. The written plea

agreement will be subject to final approval by the undersigned at sentencing.

       IT IS SO ORDERED on this 12th day of May, 2022.

                                               _/s/ Timothy L. Brooks______________
                                               TIMOTHY L. BROOKS
                                               UNITED STATES DISTRICT JUDGE
